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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   DISPLAY TECHNOLOGIES, LLC          §
                                                               Case No. 2:15-cv-1631-JRG
                                      §
                                                               LEAD CASE
        v.                            §
                                      §
   RICOH AMERICAS CORPORATION, et al. §

                                       PROTECTIVE ORDER

          WHEREAS, Plaintiff Display Technologies, LLC and Defendants Ricoh Americas

   Corporation and C&A IP Holdings, LLC, hereafter referred to as “the Parties,” believe that

   certain information that is or will be encompassed by discovery demands by the Parties involves

   the production or disclosure of trade secrets, confidential business information, or other

   proprietary information;

          WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

   with Federal Rule of Civil Procedure 26(c):

          THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

   1.     Each Party may designate as confidential for protection under this Order, in whole or in

          part, any document, information or material that constitutes or includes, in whole or in

          part, confidential or proprietary information or trade secrets of the Party or a Third Party

          to whom the Party reasonably believes it owes an obligation of confidentiality with

          respect to such document, information or material (“Protected Material”). Protected

          Material shall be designated by the Party producing it by affixing a legend or stamp on

          such document, information or material as follows: “CONFIDENTIAL.” The word

          “CONFIDENTIAL” shall be placed clearly on each page of the Protected Material

          (except deposition and hearing transcripts) for which such protection is sought. For

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         deposition and hearing transcripts, the word “CONFIDENTIAL” shall be placed on the

         cover page of the transcript (if not already present on the cover page of the transcript

         when received from the court reporter) by each attorney receiving a copy of the transcript

         after that attorney receives notice of the designation of some or all of that transcript as

         “CONFIDENTIAL.”

   2.    Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

         Order with the designation “Confidential” or “Confidential - Outside Attorneys’ Eyes

         Only” shall receive the same treatment as if designated “RESTRICTED - ATTORNEYS’

         EYES ONLY” under this Order, unless and until such document is redesignated to have a

         different classification under this Order.

   3.    With respect to documents, information or material designated “CONFIDENTIAL,

         “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

         SOURCE CODE” (“DESIGNATED MATERIAL”),1 subject to the provisions herein and

         unless otherwise stated, this Order governs, without limitation: (a) all documents,

         electronically stored information, and/or things as defined by the Federal Rules of Civil

         Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as

         exhibits or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to

         pleadings and other court filings; (d) affidavits; and (e) stipulations. All copies,

         reproductions, extracts, digests and complete or partial summaries prepared from any

         DESIGNATED MATERIALS shall also be considered DESIGNATED MATERIAL and



          1 The term DESIGNATED MATERIAL is used throughout this Protective Order to

    refer to the class of materials designated as “CONFIDENTIAL,” “RESTRICTED -
    ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,”
    both individually and collectively.
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        treated as such under this order.

   4.   A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED -

        ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE

        CODE”) may be made at any time. Inadvertent or unintentional production of

        documents, information or material that has not been designated as DESIGNATED

        MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential

        treatment. Any party that inadvertently or unintentionally produces Protected Material

        without designating it as DESIGNATED MATERIAL may request destruction of that

        Protected Material by notifying the recipient(s), as soon as reasonably possible after the

        producing Party becomes aware of the inadvertent or unintentional disclosure, and

        providing replacement Protected Material that is properly designated. The recipient(s)

        shall then destroy all copies of the inadvertently or unintentionally produced Protected

        Materials and any documents, information or material derived from or based thereon.

   5.   “CONFIDENTIAL” documents, information and material may be disclosed only to the

        following persons, except upon receipt of the prior written consent of the designating

        party, upon order of the Court, or as set forth in paragraph 12 herein:

        (a)    outside counsel of record in this Action for the Parties;
        (b)    employees of such counsel assigned to and reasonably necessary to assist such
               counsel in the litigation of this Action;
        (c)    in-house counsel for the Parties who either have responsibility for making
               decisions dealing directly with the litigation of this Action, or who are assisting
               outside counsel in the litigation of this Action;
        (d)    up to and including three (3) designated representatives of each of the Parties to
               the extent reasonably necessary for the litigation of this Action, except that either
               party may in good faith request the other party’s consent to designate one or more
               additional representatives, the other party shall not unreasonably withhold such
               consent, and the requesting party may seek leave of Court to designate such
               additional representative(s) if the requesting party believes the other party has
               unreasonably withheld such consent;

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        (e)    outside consultants or experts (i.e., not existing employees or affiliates of a Party
               or an affiliate of a Party) retained for the purpose of this litigation, provided that:
               (1) such consultants or experts are not presently employed by the Parties hereto
               for purposes other than this Action; (2) before access is given, the consultant or
               expert has completed the Undertaking attached as Exhibit A hereto and the same
               is served upon the producing Party with a current curriculum vitae of the
               consultant or expert at least ten (10) days before access to the Protected Material
               is to be given to that consultant or Undertaking to object to and notify the
               receiving Party in writing that it objects to disclosure of Protected Material to the
               consultant or expert. The Parties agree to promptly confer and use good faith to
               resolve any such objection. If the Parties are unable to resolve any objection, the
               objecting Party may file a motion with the Court within fifteen (15) days of the
               notice, or within such other time as the Parties may agree, seeking a protective
               order with respect to the proposed disclosure. The objecting Party shall have the
               burden of proving the need for a protective order. No disclosure shall occur until
               all such objections are resolved by agreement or Court order;
        (f)    independent litigation support services, including persons working for or as court
               reporters, graphics or design services, jury or trial consulting services, and
               photocopy, document imaging, and database services retained by counsel and
               reasonably necessary to assist counsel with the litigation of this Action; and
        (g)    the Court and its personnel.
   6.   A Party shall designate documents, information or material as “CONFIDENTIAL” only

        upon a good faith belief that the documents, information or material contains confidential

        or proprietary information or trade secrets of the Party or a Third Party to whom the Party

        reasonably believes it owes an obligation of confidentiality with respect to such

        documents, information or material.

   7.   Documents, information or material produced pursuant to any discovery request in this

        Action, including but not limited to Protected Material designated as DESIGNATED

        MATERIAL, shall be used by the Parties only in the litigation of this Action and shall

        not be used for any other purpose. Any person or entity who obtains access to

        DESIGNATED MATERIAL or the contents thereof pursuant to this Order shall not

        make any copies, duplicates, extracts, summaries or descriptions of such DESIGNATED

        MATERIAL or any portion thereof except as may be reasonably necessary in the


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         litigation of this Action. Any such copies, duplicates, extracts, summaries or descriptions

         shall be classified DESIGNATED MATERIALS and subject to all of the terms and

         conditions of this Order.

   8.    To the extent a producing Party believes that certain Protected Material qualifying to be

         designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

         limitation, the producing Party may designate such Protected Material “RESTRICTED --

         ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes

         computer source code and/or live data (that is, data as it exists residing in a database or

         databases) (“Source Code Material”), the producing Party may designate such Protected

         Material as “RESTRICTED CONFIDENTIAL SOURCE CODE.”

   9.    For Protected Material designated RESTRICTED -- ATTORNEYS’ EYES ONLY,

         access to, and disclosure of, such Protected Material shall be limited to individuals listed

         in paragraphs 5(a-b) and (e-g).

   10.   For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE CODE,

         the following additional restrictions apply:

         (a)    Access to a Party’s Source Code Material shall be provided only on “stand-alone”
                computer(s) (that is, the computer may not be linked to any network, including a
                local area network (“LAN”), an intranet or the Internet). The stand-alone
                computer(s) may be connected to (i) a printer, or (ii) a device capable of
                temporarily storing electronic copies solely for the limited purposes permitted
                pursuant to paragraphs 10 (h and k) below. Additionally, except as provided in
                paragraph 10(k) below, the stand-alone computer(s) may only be located at the
                offices of the producing Party’s outside counsel;
         (b)    The receiving Party shall make reasonable efforts to restrict its requests for such
                access to the stand-along computer(s) to normal business hours, which for
                purposes of this paragraph shall be 8:00 a.m. through 6:00 p.m. However, upon
                reasonable notice from the receiving party, the producing Party shall make
                reasonable efforts to accommodate the receiving Party’s request for access to the
                stand-alone computer(s) outside of normal business hours. The Parties agree to
                cooperate in good faith such that maintaining the producing Party’s Source Code

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                 Material at the offices of its outside counsel shall not unreasonably hinder the
                 receiving Party’s ability to efficiently and effectively conduct the prosecution or
                 defense of this Action;
          (c)    The producing Party shall provide the receiving Party with information explaining
                 how to start, log on to, and operate the stand-alone computer(s) in order to access
                 the produced Source Code Material on the stand-alone computer(s);
          (d)    The producing Party will produce Source Code Material in computer searchable
                 format on the stand-alone computer(s) as described above;
          (e)    Access to Protected Material designated RESTRICTED CONFIDENTIAL -
                 SOURCE CODE shall be limited to outside counsel and up to three (3) outside
                 consultants or experts2 (i.e., not existing employees or affiliates of a Party or an
                 affiliate of a Party) retained for the purpose of this litigation and approved to
                 access such Protected Materials pursuant to paragraph 5(e) above. A receiving
                 Party may include excerpts of Source Code Material in a pleading, exhibit, expert
                 report, discovery document, deposition transcript, other Court document, provided
                 that the Source Code Documents are appropriately marked under this Order,
                 restricted to those who are entitled to have access to them as specified herein, and,
                 if filed with the Court, filed under seal in accordance with the Court’s rules,
                 procedures and orders;
          (f)    To the extent portions of Source Code Material are quoted in a Source Code
                 Document, either (1) the entire Source Code Document will be stamped and
                 treated as RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those pages
                 containing quoted Source Code Material will be separately stamped and
                 treated as RESTRICTED CONFIDENTIAL SOURCE CODE;
          (g)    Except as set forth in paragraph 10(k) below, no electronic copies of Source Code
                 Material shall be made without prior written consent of the producing Party,
                 except as necessary to create documents which, pursuant to the Court’s rules,
                 procedures and order, must be filed or served electronically;
          (h)    The receiving Party shall be permitted to make a reasonable number of printouts
                 and photocopies of Source Code Material, all of which shall be designated and
                 clearly labeled “RESTRICTED CONFIDENTIAL SOURCE CODE,” and the
                 receiving Party shall maintain a log of all such files that are printed or
                 photocopied;
          (i)    Should such printouts or photocopies be transferred back to electronic media,
                 such media shall be labeled “RESTRICTED CONFIDENTIAL SOURCE CODE”
                 and shall continue to be treated as such;
          (j)    If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
                 photocopies of Source Code Material, the receiving Party shall ensure that such
                 outside counsel, consultants, or experts keep the printouts or photocopies in a
                 secured locked area in the offices of such outside counsel, consultants, or expert.

          2 For the purposes of this paragraph, an outside consultant or expert is defined to include

   the outside consultant’s or expert’s direct reports and other support personnel, such that the
   disclosure to a consultant or expert who employs others within his or her firm to help in his or
   her analysis shall count as a disclosure to a single consultant or expert.

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                The receiving Party may also temporarily keep the printouts or photocopies at: (i)
                the Court for any proceedings(s) relating to the Source Code Material, for the
                dates associated with the proceeding(s); (ii) the sites where any deposition(s)
                relating to the Source Code Material are taken, for the dates associated with the
                deposition(s); and (iii) any intermediate location reasonably necessary to transport
                the printouts or photocopies (e.g., a hotel prior to a Court proceeding or
                deposition); and
         (k)    A producing Party’s Source Code Material may only be transported by the
                receiving Party at the direction of a person authorized under paragraph 10(e)
                above to another person authorized under paragraph 10(e) above, on paper or
                removable electronic media (e.g., a DVD, CD-ROM, or flash memory “stick”) via
                hand carry, Federal Express or other similarly reliable courier. Source Code
                Material may not be transported or transmitted electronically over a network of
                any kind, including a LAN, an intranet, or the Internet. Source Code Material
                may only be transported electronically for the purpose of Court proceeding(s) or
                deposition(s) as set forth in paragraph 10(j) above and is at all times subject to the
                transport restrictions set forth herein. But, for those purposes only, the Source
                Code Materials may be loaded onto a stand-alone computer.
   11.   Any attorney representing a Party, whether in-house or outside counsel, and any person

         associated with a Party and permitted to receive the other Party’s Protected Material that

         is designated RESTRICTED -- ATTORNEYS’ EYES ONLY and/or RESTRICTED

         CONFIDENTIAL SOURCE CODE (collectively “HIGHLY SENSITIVE

         MATERIAL”), who obtains, receives, has access to, or otherwise learns, in whole or in

         part, the other Party’s HIGHLY SENSITIVE MATERIAL under this Order shall not

         prepare, prosecute, supervise, or assist in the preparation or prosecution of any patent

         application pertaining to the field of the invention of the patents-in-suit on behalf of the

         receiving Party or its acquirer, successor, predecessor, or other affiliate during the

         pendency of this Action and for one year after its conclusion, including any appeals. To

         ensure compliance with the purpose of this provision, each Party shall create an “Ethical

         Wall” between those persons with access to HIGHLY SENSITIVE MATERIAL and any

         individuals who, on behalf of the Party or its acquirer, successor, predecessor, or other

         affiliate, prepare, prosecute, supervise or assist in the preparation or prosecution of any

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         patent application pertaining to the field of invention of the patent-in-suit.

         Notwithstanding the foregoing, nothing in this section shall prohibit attorneys involved in

         this litigation from participating in any Inter Partes Review or other USPTO proceedings

         of the patents-in-suit.

   12.   Nothing in this Order shall require production of documents, information or other

         material that a Party contends is protected from disclosure by the attorney-client

         privilege, the work product doctrine, or other privilege, doctrine, or immunity. If

         documents, information or other material subject to a claim of attorney-client privilege,

         work product doctrine, or other privilege, doctrine, or immunity is inadvertently or

         unintentionally produced, such production shall in no way prejudice or otherwise

         constitute a waiver of, or estoppel as to, any such privilege, doctrine, or immunity. Any

         Party that inadvertently or unintentionally produces documents, information or other

         material it reasonably believes are protected under the attorney-client privilege, work

         product doctrine, or other privilege, doctrine, or immunity may obtain the return of such

         documents, information or other material by promptly notifying the recipient(s) and

         providing a privilege log for the inadvertently or unintentionally produced documents,

         information or other material. The recipient(s) shall gather and return all copies of such

         documents, information or other material to the producing Party, except for any pages

         containing privileged or otherwise protected markings by the recipient(s), which pages

         shall instead be destroyed and certified as such to the producing Party.

   13.   There shall be no disclosure of any DESIGNATED MATERIAL by any person

         authorized to have access thereto to any person who is not authorized for such access

         under this Order. The Parties are hereby ORDERED to safeguard all such documents,

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         information and material to protect against disclosure to any unauthorized persons or

         entities.

   14.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

         DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided

         that the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible

         to have access to the DESIGNATED MATERIAL by virtue of his or her employment

         with the designating party, (ii) identified in the DESIGNATED MATERIAL as an

         author, addressee, or copy recipient of such information, (iii) although not identified as an

         author, addressee, or copy recipient of such DESIGNATED MATERIAL, has, in the

         ordinary course of business, seen such DESIGNATED MATERIAL, (iv) a current or

         former officer, director or employee of the producing Party or a current or former officer,

         director or employee of a company affiliated with the producing Party; (v) counsel for a

         Party (subject to paragraph 9 of this Order); (vi) an independent contractor, consultant,

         and/or expert retained for the purpose of this litigation; (vii) court reporters and

         videographers; (viii) the Court; or (ix) other persons entitled hereunder to access to

         DESIGNATED MATERIAL. DESIGNATED MATERIAL shall not be disclosed to any

         other persons unless prior authorization is obtained from counsel representing the

         producing Party or from the Court.

   15.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

         deposition or hearing transcript, designate the deposition or hearing transcript or any

         portion thereof as “CONFIDENTIAL,” “RESTRICTED - ATTORNEY’ EYES ONLY,”

         or “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this Order. Access

         to the deposition or hearing transcript so designated shall be limited in accordance with

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         the terms of this Order. Until expiration of the 30-day period, the entire deposition or

         hearing transcript shall be treated as confidential.

   16.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

         shall remain under seal until further order of the Court. The filing party shall be

         responsible for informing the Clerk of the Court that the filing should be sealed and for

         placing the legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER”

         above the caption and conspicuously on each page of the filing. Exhibits to a filing shall

         conform to the labeling requirements set forth in this Order. If a pretrial pleading filed

         with the Court, or an exhibit thereto, discloses or relies on confidential documents,

         information or material, such confidential portions shall be redacted to the extent

         necessary and the pleading or exhibit filed publicly with the Court.

   17.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

         the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

         this Action, or from using any information contained in DESIGNATED MATERIAL at

         the trial of this Action, subject to any pretrial order issued by this Court.

   18.   A Party may request in writing to the other Party that the designation given to any

         DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not

         agree to redesignation within ten (10) days of receipt of the written request, the

         requesting Party may apply to the Court for relief. Upon any such application to the

         Court, the burden shall be on the designating Party to show why its classification is

         proper. Such application shall be treated procedurally as a motion to compel pursuant to

         Federal Rules of Civil Procedure 37, subject to the Rule’s provisions relating to

         sanctions. In making such application, the requirements of the Federal Rules of Civil

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         Procedure and the Local Rules of the Court shall be met. Pending the Court’s

         determination of the application, the designation of the designating Party shall be

         maintained.

   19.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

         accordance with the terms of this Order shall be advised by counsel of the terms of this

         Order, shall be informed that he or she is subject to the terms and conditions of this

         Order, and shall sign an acknowledgment that he or she has received a copy of, has read,

         and has agreed to be bound by this Order. A copy of the acknowledgment form is

         attached as Appendix A.

   20.   To the extent that any discovery is taken of persons who are not Parties to this Action

         (“Third Parties”) and in the event that such Third Parties contended the discovery sought

         involves trade secrets, confidential business information, or other proprietary

         information, then such Third Parties may agree to be bound by this Order.

   21.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

         designate as “CONFIDENTIAL” or “RESTRICTED – ATTORNEYS’ EYES ONLY”

         any documents information or other material, in whole or in part, produced or give by

         such Third Parties. The Third Parties shall have ten (10) days after production of such

         documents, information or other materials to make such a designation. Until that time

         period lapses or until such a designation has been made, whichever occurs sooner, all

         documents, information or other material so produced or given shall be treated as

         “CONFIDENTIAL” in accordance with this Order.

   22.   Within thirty (30) days of final termination of this Action, including any appeals, all

         DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

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         summaries, descriptions, and excerpts or extracts thereof (excluding excerpts or extracts

         incorporated into any privileged memoranda of the Parties and materials which have been

         admitted into evidence in this Action), shall at the producing Party’s election either be

         returned to the producing Party or be destroyed. The receiving Party shall verify the

         return or destruction by affidavit furnished to the producing Party, upon the producing

         Party’s request.

   23.   The failure to designate documents, information or material in accordance with this Order

         and the failure to object to a designation at a given time shall not preclude the filing of a

         motion at a later date seeking to impose such designation or challenging the propriety

         thereof. The entry of this Order and/or the production of documents, information and

         material hereunder shall in no way constitute a waiver of any objection to the furnishing

         thereof, all such objections being hereby preserved.

   24.   Any Party knowing or believing that any other party is in violation of or intends to violate

         this Order and has raised the question of violation or potential violation with the opposing

         party and has been unable to resolve the matter by agreement may move the Court for

         such relief as may be appropriate in the circumstances. Pending disposition of the motion

         by the Court, the Party alleged to be in violation of or intending to violate this Order shall

         discontinue the performance of and/or shall not undertake the further performance of any

         action alleged to constitute a violation of this Order.

   25.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

         publication of the documents, information and material (or the contents thereof) produced

         so as to void or make voidable whatever claim the Parties may have as to the proprietary

         and confidential nature of the documents, information or other material or its contents.

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   .


       26.   Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of

             any kind on the rights of each of the Parties to assert any applicable discovery or trial

             privilege.

       27.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify

             this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or

             entities if reasonably necessary to prepare and present this Action and (b) to apply for

             additional protection of DESIGNATED MATERIAL.
             SIGNED this 3rd day of January, 2012.
             SIGNED this 10th day of March, 2016.




                                                            ____________________________________
                                                            ROY S. PAYNE
                                                            UNITED STATES MAGISTRATE JUDGE




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

   DISPLAY TECHNOLOGIES, LLC,         §
                                      §                       Case No. 2:15-cv-1631-JRG
        v.                            §                       LEAD CASE
                                      §
   RICOH AMERICAS CORPORATION, et al. §

                               APPENDIX A
            UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                           PROTECTIVE ORDER

         I, ___________________, declare that:

   1.    My address is ________________________________________________________.

   My current employer is _________________________________________________________.

   My current occupation is ________________________________________________________.

   2.    I have received a copy of the Protective Order in this action. I have carefully read and

         understand the provisions of the Protective Order.

   3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

         will not disclose to anyone not qualified under the Protective Order, and will use only for

         purposes of this action any information designated as “CONFIDENTIAL,”

         “RESTRICTED -- ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

         SOURCE CODE” that is disclosed to me.

   4.    Promptly upon termination of these actions, I will return all documents and things

         designated as “CONFIDENTIAL,” “RESTRICTED -- ATTORNEYS’ EYES

         ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my

         possession, and all documents and things that I have prepared relating thereto, to the

         outside counsel for the party by whom I am employed.



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   5.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

         Protective Order in this action.

         I declare under penalty of perjury that the foregoing is true and correct.

   Signature ______________________
   Date __________________




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